Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.132    Page 1 of 20



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                              NO. 19-CR-20146
      vs.
                                              HON. PAUL D. BORMAN
D-1   NORWOOD JEWELL,

     Defendant.
________________________________/

        SENTENCING MEMORANDUM OF THE UNITED STATES

I.    Introduction

      Norwood Jewell reached nearly the pinnacle of leadership of the venerable

United Auto Workers union after his election as Vice President in charge of the

UAW’s Chrysler Department. Instead of seizing the opportunity to zealously and

honorably represent the interests of the union’s members and their families, Jewell

chose to serve his own interests and to live the life of a big shot and fat cat. Jewell

accepted tens of thousands of dollars of illegal, prohibited payments for his own

personal benefit from Fiat Chrysler Automobiles U.S. (“Fiat Chrysler”). Jewell also

chose to illegally use Fiat Chrysler’s money to defray certain of the union’s costs,

including sumptuous meals and entertainment for the UAW’s top brass.




                                          1
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.133    Page 2 of 20



      Through his actions, Jewell undermined and betrayed the confidence and trust

the UAW’s members had placed in him to serve as their sworn representative in

negotiations with Fiat Chrysler. If that alone were not bad enough, Jewell’s actions

also eroded public confidence in our country’s collective bargaining system and

sullied the reputations of all honest trade unionists in the UAW. Jewell took cigars,

big steaks, first class airfare, rounds of golf, villas, lavish entertainment, and

personalized bottles of wine because he lost sight of the true reason the UAW’s

members were paying him a salary and compensation amounting to hundreds of

thousands of dollars. Jewell’s breach of trust and his damage to UAW members’

faith in their union deserves just punishment.        Other union officials and the

leadership of all labor unions need to know that such conduct will not be tolerated.

Union leaders need to know that they have a solemn duty to represent their members,

not to leverage their positions of trust for their own personal benefit and greed.

II.   Analysis of Sentencing Factors

      A.     Sentencing Guideline Issues

             1.     Guideline Range and the Amount of Illegal Payments

      The parties are in agreement as to the correct sentencing guideline range

applicable in this case. In the Rule 11 agreement, the parties agreed that the amount

of prohibited Taft-Hartley payments for which Jewell is responsible is between

$40,000 and $95,000, for a 6-level enhancement. Jewell also received enhancements

                                          2
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.134    Page 3 of 20



based on his leadership role in the conspiracy and his breach and abuse of his

position of trust within the UAW.

             2.    Applicable Sentencing Guideline Range

      Jewell’s sentencing guideline range is 12 to 18 months. Under the terms of

the plea agreement, the possible sentence of imprisonment was capped at 18 months

under Federal Rule of Criminal Procedure 11(c)(1)(C). The government also agreed

to recommend a sentence no more than the mid-point of the guideline range.

             3.    Sentences of Other UAW Officials in This Case

      Three other UAW officials have already been sentenced based on their

involvement in the conspiracy. Co-defendant Virdell King, who worked for Jewell,

was sentenced to two months in prison after the Court granted the government’s

motion for a downward departure from the guideline range of 10 to 16 months based

on her cooperation. King was held responsible for the same amount of prohibited

payments as Jewell, but she was not given a leadership role enhancement.

      Keith Mickens, who also worked for Jewell, was sentenced to 12 months in

prison following a downward departure motion from his guideline range of 24 to 30

months based on his cooperation. It should be noted that Mickens faced a higher

guideline range than Jewell does because Mickens had approved hundreds of

thousands of dollars in illegal payments that went from Fiat Chrysler for the personal




                                          3
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.135     Page 4 of 20



benefit of UAW Vice President General Holiefield before Jewell took over the

Chrysler Department.

      Finally, co-defendant Nancy Johnson, who worked as Jewell’s top assistant,

was sentenced to 12 months in prison based on a guideline range of 12 to 18 months.

Johnson was held accountable for the same amount of prohibited payments as

Jewell.

      B.     Seriousness of the Offense

             1.     Background

      The Taft-Hartley Act seeks to deter and punish the real danger that union

officials, who are supposed to represent the best interests of their members, could be

corrupted by corporations seeking to buy labor peace or bribe their way to

concessions at the bargaining table. This prosecution has revealed that there was a

culture of corruption in the senior leadership of the United Auto Workers union.

Leaders of the UAW viewed the National Training Center as a mechanism to take

apparently unlimited and illegal payments from Fiat Chrysler for their own personal

benefit, for the benefit of the union itself, and for their own lavish entertainment.

      From 2014 through 2017, Norwood Jewell was one of the very top officials

in the UAW. Unlike the three other appointed UAW officials previously convicted

and sentenced in this case, Jewell was actually elected by the membership to

represent their interests. When Jewell became the Vice President in charge of the

                                           4
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19       PageID.136    Page 5 of 20



Chrysler Department in June 2014, he was brand new to the department, having

previously served in the UAW’s GM Department. Jewell was not directly connected

to the culture of corruption that had long been in place in the UAW’s Chrysler

Department under Vice President Holiefield. Jewell’s involvement in the conspiracy

and his acceptance of prohibited payments from Fiat Chrysler were not to the level

of Holiefield’s graft and misappropriation. Although the size of the illegal payments

Jewell accepted was much lower than Holiefield, Jewell still made the conscious and

criminal decision to participate in the conspiracy and to bask in the culture of

corruption. As set forth below in detail, Jewell chose to embrace the malfeasance,

rather than to clean house.

             2.    Jewell’s Involvement in the Criminal Conspiracy

                   a.     Jewell Took Illegal Payments
                          for His Own Personal Benefit

      Jewell’s involvement in the conspiracy and his acceptance of illegal payments

took several forms. First, Jewell accepted prohibited payments from Fiat Chrysler

for his own personal benefit. For example, for two months in January and February

2016, UAW Vice President Jewell resided at a three-bedroom villa with a private

pool and hot tub in Palm Springs, California.




                                         5
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19     PageID.137    Page 6 of 20




Part of the cost for Jewell’s villa was paid for with $8,926.93 in training center

money supplied by Fiat Chrysler. Ostensibly, Jewell was in Palm Springs in order

to attend a National Training Center UAW-FCA Health and Safety conference

                                        6
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.138    Page 7 of 20



scheduled to occur from February 1 through February 4. In addition, there was a

joint UAW-FCA World-Class Manufacturing conference from February 9 through

February 11. However, Jewell used and retained the villa for all of January and

February 2016. Similarly, for at least a month in 2015, Jewell used over $2,000 in

Fiat Chrysler money to partly pay for another three-bedroom villa with a pool in

Palm Springs, with the remainder of the cost of the villa being paid with the dues of

the UAW membership.

      In order to get to his private villa, in December 2014, Jewell flew first class

to Palm Springs, at a cost of $1,839.70, paid for by Fiat Chrysler. Again, in

December 2015, Jewell flew first class to Palm Springs at a cost of $3,285.20 from

his National Training Center credit card, paid for by Fiat Chrysler.

      While living in Palm Springs in 2015 and 2016, Jewell enjoyed multiple

rounds of golf and other entertainment at the Indian Canyons Golf Resort. In total,

Jewell used his NTC credit card, provided and paid by Fiat Chrysler, for $6,681.12

in purchases at the resort. The expenses that Jewell himself charged at the Indian

Canyons resort included twenty-nine rounds of golf, golf club rentals, golf balls,

meals, beer, and liquor for himself and other high-level UAW officials. At that same

time in early 2016, Jewell approved co-defendant Nancy Johnson’s use of her

training center credit card to pay for an additional $1,852.77 in expenses at the golf

resort for the entertainment of UAW officials in Palm Springs.

                                          7
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.139    Page 8 of 20



      Of course, while Jewell and other UAW officials were playing rounds of golf

during the day paid for by Fiat Chrysler, they were dining in the evenings on filets,

wine, and liquor, also paid for by Fiat Chrysler. This sequence of events gives a

flavor of the lifestyle that Jewell lived as a UAW Vice President. Rather than the

concerns of his membership, it is apparent that Jewell was most concerned with

fancy meals, rounds of golf, and other perquisites of being at the highest level of the

UAW’s leadership team.

      Jewell also received a number of personal items paid for using the NTC credit

cards as paid for by Fiat Chrysler. In October 2014, Jewell received $1,259.17 in

luggage, and he received an Italian-made Beretta shotgun costing $2,182 as a

birthday present in August 2015, which was ordered and purchased by co-defendants

Johnson and King:




                                          8
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19      PageID.140   Page 9 of 20




In October 2015, Jewell used his NTC credit card to spend $468.86 at Wild Bill’s

Tobacco store. Later, after Jewell learned of the federal investigation, he gave

money to the National Training Center for the cost of the luggage and the shotgun.

                   b.    Jewell Used Fiat Chrysler Money
                         to Benefit His Friends

      Jewell also used Fiat Chrysler money in order to entertain his close friends.

In May 2015, in Orlando, Florida, Jewell directed co-defendant Virdell King to buy

$2,130.02 worth of Disney World theme park tickets for Jewell’s best friend and his

family. Jewell’s friends got four 5-Day Disney Park Hopper tickets for $403.64 each

and two 2-Day Disney tickets for $257.73 each. In addition, Jewell gave his friends

Universal Studios passes at a cost of $217.26 each. These tickets and passes were

all paid for with Fiat Chrysler money.

                                         9
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19       PageID.141    Page 10 of 20



                    c.    Jewell Used Fiat Chrysler Money for Lavish
                          Dining for Himself and other UAW Officials

       Jewell used the Fiat Chrysler funded credit cards to pay for extravagant meals

 for himself and other UAW officials that were completely unrelated to the business

 of the National Training Center. For example, on July 14, 2015, Jewell caused one

 of his UAW subordinates to pay for a meal costing $7,694.07 at the London Chop

 House in Detroit. The meal was for the UAW’s national negotiating committee to

 kick off the UAW’s negotiations for the collective bargaining agreement. That same

 day, Jewell caused another $800.30 in Fiat Chrysler funds to be spent for top UAW

 officials to smoke cigars and drink more liquor at the London Chop House’s cigar

 bar. The meal and cigar party for UAW officials on July 14 had nothing to do with

 the National Training Center, and there were no Fiat Chrysler executives present for

 the event.

       Later, after the completion of the bargaining negotiations between the UAW

 and Fiat Chrysler in September 2015, Jewell caused another $6,912.81 to be spent

 at the London Chop House for Jewell, the UAW President, and the negotiating team

 to celebrate a collective bargaining agreement with Fiat Chrysler. The extravagant

 meal at the chop house was again paid for with Fiat Chrysler funds. Soon thereafter,

 the membership of the UAW voted to reject the proposed agreement negotiated by

 Jewell and his team.



                                          10
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19       PageID.142    Page 11 of 20



                    d.    Jewell and Lavish Dining in Palm Springs

       While living and golfing in Palm Springs, Jewell used his NTC credit card,

 and he caused his subordinates to use their NTC credit cards, to pay for a series of

 sumptuous meals at high-end restaurants. For example, on February 3, 2016, Jewell

 directed a subordinate to spend $6,081.04 for a meal and liquor at Melvyn’s

 Restaurant in Palm Springs for high-level UAW officials. On February 12, 2016,

 Jewell spent $3,583.47 in Fiat Chrysler money to pay for a meal at the Palm Springs

 Steak & Chop Restaurant. A year prior, on January 9, 2015, Jewell spent $7,569.55

 in Fiat Chrysler money for a meal and drinks at LG’s Prime Steakhouse in Palm

 Springs. Then, on January 18, 2015, Jewell, co-defendant Johnson, and other UAW

 officials went back to the LG’s steakhouse for a $4,587.04 meal for themselves and

 other UAW officials. Three days later, on January 21, 2015, Jewell caused co-

 defendant Johnson to pay for a party bus with her NTC credit card to take Jewell,

 Johnson, and other high-level UAW officials from Palm Springs to a restaurant in

 La Jolla, California. The extravagant meal and drinks in La Jolla were paid for with

 UAW dues money. The January 21, 2015 feast in La Jolla was followed days later

 by a January 23 meal for $3,372.74 at Spencer’s Restaurant, paid for at Jewell’s

 direction by Fiat Chrysler. The next night saw a $6,200.05 meal. This was followed

 by a $4,147.74 meal on January 28, 2015, and a “less” expensive meal for $2,935.77




                                          11
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.143     Page 12 of 20



 on February 5, 2015—again, all paid for at Jewell’s approval and direction using the

 NTC credit card and Fiat Chrysler money.

                    e.     Jewell Hosted Parties for the UAW’s
                           Board Paid for by Fiat Chrysler

       Another way that Jewell accepted prohibited payments was that Jewell

 approved of and hosted two over-the-top parties paid for by Fiat Chrysler where the

 members of the UAW’s International Executive Board (“IEB”) were wined and

 dined on Fiat Chrysler’s dime. In August 2014, within just two months of his start

 as Vice President, Jewell caused $25,065.25 1 in Fiat Chrysler money to be used to

 pay for a decadent party on the grounds of the National Training Center for the

 purpose of entertaining the members of the UAW’s IEB, including the Regional

 Directors, other Vice Presidents, and the union’s President. Fiat Chrysler executives

 did not attend the party, and it was not a joint FCA/UAW event. During the party,

 attendees received personalized bottles of wine, each bottle with a special label

 inscribed with the statement: “MADE ESPECIALLY FOR YOU BY UAW VICE

 PRESIDENT NORWOOD JEWELL IN THE USA.”



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         It should be noted that the government and the defendant agreed not to
 include the entire cost of the two parties for purposes of calculating the sentencing
 guidelines because arguably some portion of the cost of the events at the training
 center could be justified as an expense for the purpose of giving the IEB members
 a tour of the facility. Obviously, however, many of the expenses actually incurred
 and paid for could not be justified for any reason, either as a legitimate NTC
 expense or a legitimate union business expense.
                                           12
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19       PageID.144    Page 13 of 20




 The “M” on the label from the word “MADE” was caused to be the maize and blue

 Block M from the University of Michigan’s logo. This was done because Jewell is

 a big fan of the Wolverines. In total, the seventy-two personalized bottles of wine

 cost $3,069.89. The costs of the August 2014 party also included $7,089.36 spent

 on cigars, which were liberally distributed to the party goers. This included twenty

 boxes of cigars and twenty individual premium cigars. An additional $6,531 was

 spent on rental furniture, including “Mojito Tables” and “20 Cigar ash trays.” It is

 apparent that the blow-out party at the NTC by Jewell was an opportunity for Jewell

 to showcase his position and to curry favor with the UAW’s leadership, with an eye

 towards future union leadership positions for Jewell.

       In August 2015, Jewell hosted a second lavish party at the National Training

 Center for the UAW’s IEB. The second party was even more extravagant than the

                                          13
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.145    Page 14 of 20



 first. Again, all paid for by Fiat Chrysler. The second party was based on a theme

 of the 1980’s television show “Miami Vice,” and the party cost $31,165.99. It

 included artificial palm trees, which were strategically placed on the grounds. It also

 included special “Kandy Girls.” The Kandy Girls were dressed in provocative

 outfits, and it was their role to stroll about and light the cigars of UAW bosses. Some

 female UAW officials who attended the event were disgusted by the display. The

 Kandy Girls cost $750 in Fiat Chrysler money. Cigars were also supplied to the

 UAW’s bosses at Jewell’s party. A further $900 was paid for the services of a cigar

 roller. The party included “ultra premium” liquor paid for courtesy of Fiat Chrysler.

 It should be noted that Jewell contends that he had no prior knowledge of any of the

 extravagant parts of the parties, and that his underlings are really to blame. This

 claim rings hollow, however, given that Jewell was in charge, and he had obviously

 seen the nature of the party the first time around in August 2014, prior to the party

 the following year.

       Finally, another aspect of Jewell’s involvement in the conspiracy was his

 willingness to use Fiat Chrysler money to absorb expenses for the UAW. As part of

 his guilty plea, Jewell acknowledges failing to apportion expenses that should have

 been paid for by the UAW, but instead Jewell had Fiat Chrysler pay for the cost of

 these union expenses.




                                           14
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.146    Page 15 of 20



              3.     The Seriousness of Jewell’s Crime

       There is no question that Jewell’s participation in the Taft-Hartley conspiracy

 was a serious offense. Jewell’s counsel openly acknowledges as much. It should be

 noted that Jewell’s criminal activity was not the same as that of Holiefield and co-

 defendant Monica Morgan. Holiefield used his position as UAW Vice President to

 take hundreds of thousands of dollars in prohibited payments from Fiat Chrysler to

 satisfy his greed. Jewell did not engage in this type of open acceptance of cash, and

 his guideline range properly reflects the lower amount of prohibited payments that

 Jewell accepted. Jewell’s wrongdoing centered on using Fiat Chrysler money to live

 a lavish lifestyle and to provide such a lifestyle to other high-level UAW officials.

 Jewell accepted money generously supplied by the car company with whom he was

 negotiating a collective bargaining agreement that would affect the wages, benefits,

 and working conditions of tens of thousands of workers. Rather than conduct those

 negotiations at arm’s length, Jewell’s arms were reaching towards the deep pockets

 of Fiat Chrysler.

       As is evident from the description of Jewell’s involvement in the Taft-Hartley

 conspiracy as set forth above, Jewell was not focused on zealously representing the

 interests of UAW members and their families. Instead, while thousands of UAW

 members worked hard every day at factories, Jewell was living the absolute high life

 in Palm Springs for extended periods of time in January and February of 2015 and

                                          15
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.147      Page 16 of 20



 2016. Jewell golfed during the day and ate prime steaks at top restaurants during the

 night, all while living in a three-bedroom villa with a private pool and hot tub. Of

 course, Jewell’s high-flying lifestyle was paid for by Fiat Chrysler with money

 funneled through the National Training Center. Jewell also used Fiat Chrysler

 money to send his close friends to Disney World, fly first class, and acquire brand

 new luggage. As for the UAW members on the factory line across the country, their

 day-to-day concerns and grievances were far from Jewell’s mind.

       As one of the UAW’s top leaders, Jewell should have been dedicated to

 improving the working lives and conditions of the tens of thousands of UAW

 members. As the ultimate authority over the joint UAW/FCA National Training

 Center, Jewell should have been ensuring that the millions of dollars made available

 for the purpose of training and health and safety through the center were used for

 their intended purpose. He also should have been working to ensure that his

 subordinates like co-defendants Nancy Johnson and Virdell King were not taking

 illegal payments. Instead, Jewell chose to ignore his fiduciary responsibilities and

 his sacred trust to the UAW’s members in order to live a life of luxury.

       Although Jewell asserted in his Rule 11 Agreement and at his guilty plea

 hearing that he was simply following a culture of corruption that was put in place by

 former UAW Vice President General Holiefield, the reason the UAW’s membership

 placed its trust in Jewell as Vice President was so that he would exercise leadership

                                          16
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.148    Page 17 of 20



 on behalf of them and their families, not happily join a corrupt culture. The $7,839

 in Fiat Chrysler training money that Jewell spent on cigars and women in skimpy

 outfits to light the cigars of the UAW’s bigwigs was money that had actually been

 allocated to be spent on the safety and training of the UAW’s members.

       C.     Respect for the Law and Just Punishment

       The Court’s sentence for Jewell’s crimes needs to promote respect for the law

 and impose just punishment for his misconduct. Jewell was an elected Vice

 President of the UAW, and he intentionally acted to violate federal law for his own

 personal benefit and for the benefit of other senior UAW officials. Over 45,000

 hourly employees for FCA were represented by the UAW during the period of the

 conspiracy. These men and women believed that their union leaders were looking

 out for their best interests and negotiating in good faith, not double dealing them for

 personal gain. Through their involvement in this criminal conspiracy, however,

 Jewell and other senior UAW leaders were accepting corrupt payments from Fiat

 Chrysler and its executives. It is difficult to calculate the harm that resulted to the

 grievance process, the bargaining process, and labor relations generally. There is no

 doubt, however, about the need to impose punishment for the wrongdoing and to

 vindicate the rule of law in the face of such long-standing and extensive criminal

 conduct.




                                           17
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.149    Page 18 of 20



       The Court’s consideration of a just sentence should take into account the fact

 that this case is similar to a public corruption case. Jewell had been elected by the

 UAW’s membership to serve as a Vice President. Because of Jewell’s involvement

 in the Taft-Hartley conspiracy, Jewell has significantly damaged the confidence of

 the UAW’s members in their union and its leadership. Years of faithful service by

 prior UAW leaders were substantially damaged by Jewell’s faithless and greedy

 choices. It is difficult to determine how the UAW’s members and their families can

 maintain trust in the collective bargaining negotiations that Jewell led in 2015 given

 his acceptance of tens of thousands of dollars in prohibited payments from Fiat

 Chrysler at the very time of those negotiations. The rule of law should be vindicated,

 and the damage done by Jewell recognized through the Court’s sentence.

       D.     Deterrence

       Millions of Americans are members of labor unions. They depend on the

 leadership of their unions to act aggressively in the best interests of the membership

 and their families. Southeast Michigan especially is a center of the labor movement.

 Given the importance of the integrity of good faith and honest-dealing in labor-

 management negotiations, general deterrence is a critical component of the Court’s

 sentence in this case. Senior union officials need to know that labor corruption will

 be punished. They need to know that they occupy positions of trust over their

 members and their families. Union leaders must conduct themselves at the highest

                                          18
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19        PageID.150    Page 19 of 20



 level of honesty, integrity, and transparency. Union leaders in Detroit and across the

 country are watching this case, and the Court can instruct those union officials with

 the knowledge that union officials who accept or facilitate illegal payments from

 employers will receive significant punishment.

 III.   Conclusion

        Jewell was a top leader of the UAW. He held a position of trust and authority

 after being elected by the union’s membership to serve their best interests. Jewell

 committed serious crimes in service of his greed and ambition. He should be

 punished for his conduct. The Court should ensure that other union leaders in

 Jewell’s position of trust know that they will be punished if they violate the law and

 betray their members’ trust. Under all of the circumstances of this case, the Court

 should sentence Jewell to a term of 15 months of imprisonment and a substantial

 fine so as to achieve the goals of Section 3553(a).

                                               MATTHEW SCHNEIDER
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                                               s/David A. Gardey
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 Dated: July 30, 2019

                                          19
Case 2:19-cr-20146-PDB-RSW ECF No. 15 filed 07/30/19         PageID.151    Page 20 of 20




                           CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system, which will send

 notification of such filing to the following:

                        Counsel of Record for Norwood Jewell

                                                 s/David A. Gardey
                                                 DAVID A. GARDEY
                                                 Assistant United States Attorney


 Dated: July 30, 2019




                                           20
